
23 So.3d 894 (2009)
In re Brian J. PRENDERGAST.
No. 2009-B-2346.
Supreme Court of Louisiana.
December 11, 2009.

ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent engaged in a consensual sexual relationship with a client. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline in which respondent admitted that his conduct violated Rules 1.7(a)(2) (conflicts of interest) and 8.4(a) (violation of the Rules of Professional Conduct) of the Rules of *895 Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Brian J. Prendergast, Louisiana Bar Roll number 14335, be suspended from the practice of law in Louisiana for a period of ninety days. This suspension shall be fully deferred, subject to respondent's successful completion of an additional eight hours of continuing legal education, four each in the areas of ethics and professionalism.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
